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                    EXHIBIT 16
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                                                                                 Page 1
 1            CONFIDENTIAL - CHARLES CREMENS
 2            UNITED STATES BANKRUPTCY COURT
 3             FOR THE DISTRICT OF DELAWARE
 4   --------------------------------X
     In Re:
 5

     ENERGY FUTURE HOLDINGS
 6   CORPORATION, et al.,
 7                       Debtors.
 8   Chapter 11
     Case No. 14-0979
 9   Jointly Administered
     --------------------------------X
10

11

12         *** C O N F I D E N T I A L ***
13

14                VIDEOTAPED DEPOSITION
15                              OF
16                   CHARLES CREMENS
17              Wednesday, October 8, 2014
18                 Seven Times Square
19                  New York, New York
20

21

22   Reported by:
     AYLETTE GONZALEZ, RPR, CLR, CCR
23   JOB NO. 85457
24

25



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                                                                                   Page 135
 1           CONFIDENTIAL - CHARLES CREMENS
 2         A.    My understanding is that it's
 3   billions.
 4         Q.    Do you have a range, 1 and 2
 5   billion?
 6         A.    I don't have a range.
 7         Q.    But you do understand it would have
 8   to be billions of dollars better than NextEra?
 9         A.    Yes.
10         Q.    Has anyone expressed to you a view
11   as to the likelihood of receiving a bid in
12   this process that is billions of dollars
13   better than NextEra's?
14         A.    I have no idea exactly what the
15   market will take, but I think my experience
16   would suggest it's probably remote.
17         Q.    Probably remote.                   And what is it
18   within your experience that leads you to
19   believe the likelihood of a taxable
20   transaction coming in at a level that's
21   billions of dollars higher than NextEra, which
22   is what you would need to have that bid be
23   better than a taxable -- a nontaxable
24   transaction, what in your experience leads you
25   to believe that that's remote?

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                                                                                 Page 136
 1             CONFIDENTIAL - CHARLES CREMENS
 2           A.   It would -- because the size of the
 3   transaction relative to the cash flows and the
 4   overall multiples, it would just seem like it
 5   would be difficult to get.              I mean, this is
 6   not that large relative to billions of
 7   dollars.
 8           Q.   So when --what was the purpose, if
 9   you know, behind the debtors' indication that
10   the auction process is now wide open and they
11   will consider any bids that deviate from the
12   optimum tax structure --
13                MS. O'CONNOR:          Object to form.
14           Q.   -- if such bids are considered to
15   be remote?
16                MS. O'CONNOR:          Object to form.
17           A.   No, I didn't say bids -- the bids
18   might not be remote.         I said the idea of being
19   able to come up with billions of dollars more
20   than the NextEra bid is probably remote.
21                So I don't know whether somebody
22   would put forth a taxable transaction or a
23   transaction that is only for part of the
24   business or how is it going to do.                      We don't
25   know.    So we're offering the marketplace as a

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                                                                                    Page 137
 1             CONFIDENTIAL - CHARLES CREMENS
 2   whole to try to give wide breath to what
 3   anybody might think and then we could see and
 4   work with it.
 5           Q.    But, again, just so I'm clear, the
 6   notion that an alternative tax structure that
 7   would clear the billions of dollars hurdle in
 8   your business judgment is remote?
 9           A.    I'm saying that it is certainly, as
10   I understand it, remote.
11           Q.    And you have a general familiarity,
12   do you not, with what the market multiples are
13   in the utility space?
14           A.    I do.
15           Q.    And, again, other than the
16   possibility of people coming up with bids for
17   different portions of the business, you're not
18   anticipating a taxable transaction to provide
19   enough value to become the winning bidder, do
20   you?
21                 MS. O'CONNOR:            Object to form.
22           A.    Again, my overall view is that
23   based upon the work that has been done that we
24   have been exposed to is that a -- we're
25   inclined -- the difference is substantial

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